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                IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF NEBRASKA



UNITED STATES OF AMERICA,                )
                                         )
                   Plaintiff,            )             4:03 CR 3085
                                         )
           v.                            )
                                         )
                                         )
PHILLIP COLLEY, and                      )      MEMORANDUM AND ORDER
SHERRIE BUSSELMAN,                       )
                                         )
                   Defendants.           )


     On May 10, 2005 a conference was held with counsel on the
remaining charges in this case pursuant to Fed. R. Crim. P. 17.1.
In accordance with the discussion during the conference,



     IT HEREBY IS ORDERED:

     1. Trial of the case UNITED STATES v. PHILLIP COLLEY is set
to commence before the Hon. Richard G. Kopf, United States District
Judge at 9:00 a.m. September 12, 2005 in Courtroom #1, United
States Courthouse, Lincoln, Nebraska. Jury selection will be at
commencement of trial. Trial is scheduled for a duration of ten
trial days.

     2. Trial of the case UNITED STATES v. SHERRIE BUSSELMAN is
set to commence before the Hon. Richard G. Kopf, United States
District Judge at 9:00 a.m. October 3, 2005 in Courtroom #1, United
States Courthouse, Lincoln, Nebraska. Jury selection will be at
commencement of trial. Trial is scheduled for a duration of five
trial days.

     3. The court having previously found this case to be complex
within the meaning of the Speedy Trial Act, 18 U.S.C. §
3161(h)(8)(A) and (B)(ii), it remains true that to force the
defendants to go to trial before these dates would be unjust,
taking into account the due diligence of counsel in preparing for
trial.    Therefore, the interests of the defendants in full
preparation for trial outweigh the interest of the defendants and
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the public in a speedy trial. For this reason, the entire case was
previously, and remains, exempt from the time limitations of the
Speedy Trial Act.



     DATED May 11, 2005


                                    BY THE COURT:



                                    s/    David L. Piester
                                    United States Magistrate Judge




                                      2
